Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 1 of 13 PagelD: 153

2021R00610/JLH

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. (MCA)
v. : Crim. No. 22-522
BRIAN ADJAVON, : 18 U.S.C. § 371
a/k/a “CarlosSlimm,” : 18 U.S.C. § 1028A
a/k/a “sasuforever,” ; 18 U.S.C. § 1349
QUINTON SESSIONS, : 18 U.S.C. § 1956(h)
a/k/a “Q Doggy Widda Hoodie,”
and

GEORGE WIGGINS

INDICTMENT
The Grand Jury in and for the District of New Jersey, sitting
at Newark, charges as follows:

COUNT ONE
(Conspiracy to Possess and Receive Stolen Mail)

1. At all times relevant to Count One of this Indictment:
a. Defendants BRIAN ADJAVON  (“ADJAVON”), QUINTON
SESSIONS (“SESSIONS”), and GEORGE WIGGINS (“WIGGINS’”),
were residents of the Bronx, New York.
2. From in or about August 2018 through in or about December 2019,
in Essex County, in the District of New Jersey and elsewhere, the defendants,
BRIAN ADJAVON,
a/k/a “CarlosSlimm,”
a/k/a “sasuforever,”
QUINTON SESSIONS,

a/k/a “Q Doggy Widda Hoodie,” and
GEORGE WIGGINS,
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 2 of 13 PagelD: 154

did knowingly and intentionally conspire and agree with each other and others
to buy, receive, conceal, and unlawfully have in their possession, any letter,
postal card, package, bag, and mail, and any article and thing contained therein,
which has been so stolen, taken, embezzled, and abstracted, as herein described,
knowing the same to have been stolen, taken, embezzled, and abstracted,
contrary to Title 18, United States Code, Section 1708.

Goal of the Conspiracy

 

2D. The goal of the conspiracy was for ADJAVON, SESSIONS, WIGGINS,
and others (the “Mail Theft Co-Conspirators”) to obtain money by stealing mail
placed in collection boxes controlled by the United States Postal Service and
personal mailboxes, removing checks from the stolen mail, and depositing the
checks into bank accounts that the Mail Theft Co-Conspirators controlled.

Manner and Means of the Conspiracy

4. The Mail Theft Co-Conspirators obtained access to United States
Postal Service (“USPS”) collection boxes by using USPS keys that the Mail Theft
Co-Conspirators were not authorized to use.

5. The Mail Theft Co-Conspirators used the keys to open USPS
collection boxes in the Newark, New Jersey area and stole undelivered United
States mail from those boxes.

G6. The Mail Theft Co-Conspirators also stole mail that was placed in

individuals’ personal mailboxes.
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 3 of 13 PagelD: 155

a. The Mail Theft Co-Conspirators opened the stolen mail, removed
checks contained in the stolen mail, and altered the stolen checks to change the
payee information and increase the amount of the checks.

8. The Mail Theft Co-Conspirators deposited the altered and stolen
checks into bank accounts they controlled.

Overt Acts

9. In furtherance of the conspiracy and to accomplish its unlawful
object, the following overt acts, among others, were committed in the District of
New Jersey and elsewhere:

a. On or about August 8, 2018, a Mail Theft Co-Conspirator
permitted ADJAVON to deposit into the Mail Theft Co-
Conspirator’s bank account a check that had been placed in, and
stolen from, the mail from a collection box in the Newark, New
Jersey area.

b. On or about August 30, 2018, ADJAVON possessed a check that
had been placed in, and stolen from, the mail.

c. On or about August 30, 2018, ADJAVON deposited into a bank
account a check that had been placed in, and stolen from, the
mail.

d. On or about September 12, 2018, ADJAVON possessed a check

that had been placed in, and stolen from, the mail.
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 4 of 13 PagelD: 156

e. On or about September 12, 2018, ADJAVON deposited into a
bank account a check that been placed in, and stolen from, the
mail.

f. On or about September 26, 2018, SESSIONS exchanged
messages with a Mail Theft Co-Conspirator in furtherance of the
conspiracy. Specifically, SESSIONS instructed a Mail Theft Co-
Conspirator that he would need to wait a few days instead of
immediately trying to withdraw money from the Mail Theft Co-
Conspirator’s bank account so the stolen check could clear.

g. On or about October 23, 2018, ADJAVON possessed a check that
had been placed in, and stolen from, the mail.

h. On or about October 23, 2018, ADJAVON deposited into a bank
account a check that had been placed in, and stolen from, the
mail.

i. On or about June 24, 2019, WIGGINS permitted to be deposited
into his bank account a check that had been placed in, and stolen
from, the mail.

All in violation of Title 18, United States Code, Section 371.
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 5 of 13 PagelD: 157

COUNT TWO
(Bank Fraud Conspiracy)

10. The allegations in paragraphs | and 4 through 9 of Count One of
this Indictment are realleged here.
11. Atall times relevant to Count Two of the Indictment:
a. Victim Banks 1-11 (the “Victim Banks”) were each federally
insured “financial institutions,” as that term is defined in Title
18, United States Code, Section 20.
12. From in or about January 2018 through in or about December 2019,
in Essex County, in the District of New Jersey and elsewhere, the defendants,
BRIAN ADJAVON,
a/k/a “CarlosSlimm,”
a/k/a “sasuforever,”
QUINTON SESSIONS,
a/k/a “Q Doggy Widda Hoodie,” and
GEORGE WIGGINS,
did knowingly and intentionally conspire and agree with each other and others
to execute a scheme and artifice to obtain monies, funds, assets, and other
property owned by and under the custody and control of a financial institution
by means of materially false and fraudulent pretenses, representations, and
promises, contrary to Title 18, United States Code, Section 1344(2).
Goal of the Conspiracy
13. The goal of the conspiracy was for ADJAVON, SESSIONS, WIGGINS,

and others (the “Bank Fraud Co-Conspirators”) to obtain money under the

control of the Victim Banks by depositing stolen, altered checks into bank
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 6 of 13 PagelD: 158

accounts and transferring and withdrawing the money credited from these
checks by the Victim Banks.
Manner and Means of the Conspiracy

14. The Bank Fraud Co-Conspirators opened stolen mail, removed
checks contained in the stolen mail, and altered the stolen checks to reflect a
higher amount payable and to change the account for which the check was to be
payable.

15. The Bank Fraud Co-Conspirators obtained counterfeited checks
that appeared to be payable to accounts controlled by the Bank Fraud Co-
Conspirators.

16. The Bank Fraud Co-Conspirators deposited the altered and stolen
checks into bank accounts they controlled.

17. The Bank Fraud Co-Conspirators for their benefit withdrew in cash
or transferred to other accounts money obtained by the counterfeited or altered
checks.

All in violation of Title 18, United States Code, Section 1349.
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 7 of 13 PagelD: 159

COUNT THREE
(Money Laundering Conspiracy)

18. The allegations in paragraphs | and 4 through 9 of Count One, and
paragraphs 14 through 17 of Count Two, of this Indictment are realleged here.
19. At all times relevant to Count Three of the Indictment:
a. “App-1” and “App-2” were applications that permitted users to
electronically transfer money to and from linked bank accounts.
20. From in or about August 2018 through in or about December 2019,
in Essex County, in the District of New Jersey and elsewhere, the defendants,
BRIAN ADJAVON,
a/k/a “CarlosSlimm,”
a/k/a “sasuforever,” and
QUINTON SESSIONS,
a/k/a “Q Doggy Widda Hoodie,”
did knowingly and intentionally conspire and agree with each other and others
to conduct and attempt to conduct a financial transaction affecting interstate
and foreign commerce, which involved the proceeds of specified unlawful activity,
that is, bank fraud, contrary to Title 18, United States Code, Section 1344, while
knowing that the property involved in the financial transaction represented the
proceeds of some form of unlawful activity and knowing that the transactions
were designed in whole and in part to conceal and disguise the nature, location,

source, ownership, and control of the proceeds of said specified unlawful activity,

contrary to Title 18, United States Code, Section 1956(a)(1)(B)(i).
 

Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 8 of 13 PagelD: 160

Goal of the Conspiracy

 

21. The goal of the conspiracy was for ADJAVON, SESSIONS, and others
(the “Money Laundering Co-Conspirators”) to conduct financial transactions
involving money obtained from fraudulently deposited checks to conceal and
disguise that the money obtained by the Money Laundering Co-Conspirators was
illegally obtained.

Manner and Means of the Conspiracy

22. The Money Laundering Co-Conspirators used bank accounts
controlled by other Money Laundering Co-Conspirators to deposit counterfeited
and altered checks.

23. The Money Laundering Co-Conspirators withdrew and transferred
the money illegally obtained from counterfeited and altered checks to other
financial accounts controlled by the Money Laundering Co-Conspirators,
including by using App-1 and App-2.

In violation of Title 18, United States Code, Section 1956(h).
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 9 of 13 PagelD: 161

COUNTS FOUR THROUGH SIX
(Aggravated Identity Theft)

24. The allegations in paragraphs 1 and 4 through 9 of Count One,
paragraphs 14 through 17 of Count Two, and paragraphs 19 and 21 through 23
of Count Three, of this Indictment are realleged here.

25. On or about the following dates in the District of New Jersey, and

elsewhere, the defendant,

BRIAN ADJAVON,
a/k/a “CarlosSlimm,”
a/k/a “sasuforever,”

did knowingly possess and use, without lawful authority, a means of
identification of another person during and in relation to a felony violation
enumerated in Title 18, United States Code, Section 1028A(c), to wit, bank fraud
conspiracy contrary to Title 18, United States Code, Section 1349, as set forth
in Count Two of the Indictment, knowing that the means of identification

belonged to another actual person:

 

Count | Means of Identification Approximate Date

 

3 ADJAVON possessed and used another | August 8, 2018
person’s bank ATM card and _ personal
identification number (“PIN”) to deposit a
stolen, altered check into the other person’s
bank account.

5 ADJAVON possessed and used _ another | August 13, 2018
person’s Bank ATM card and PIN to deposit a
stolen, altered check into the other person’s
bank account.

6 ADJAVON possessed and used _ another | October 23, 2018
person’s Bank ATM card and PIN to deposit a
stolen, altered check into the other person’s
bank account.

 

 

 

 

 

 

 
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 10 of 13 PagelD: 162

Each in violation of Title 18, United States Code, Section 1028A(a)(1) and

Section 2

10
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 11 of 13 PagelD: 163

FORFEITURE ALLEGATIONS

FORFEITURE ALLEGATION AS TO COUNT ONE
(Conspiracy to Possess and Receive Stolen Mail)

1. Upon conviction of the offense of conspiracy to possess and receive
stolen mail charged in Count One of this Indictment, defendants BRIAN
ADJAVON, QUINTON SESSIONS, and GEORGE WIGGINS shall forfeit to the
United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), all
property, real and personal, the respective defendants obtained that constitutes
or is derived from proceeds traceable to the commission of such offense, and all
property traceable to such property.

FORFEITURE ALLEGATION AS TO COUNT TWO
(Bank Fraud Conspiracy)

Be Upon conviction of the bank fraud offense charged in Count Two of
this Indictment, defendants BRIAN ADJAVON, QUINTON SESSIONS, and
GEORGE WIGGINS shall forfeit to the United States, pursuant to 18 U.S.C.
§ 982(a)(2)(A), all property, real and personal, that constitutes or is derived from
proceeds the respective defendants obtained directly or indirectly as a result of
such offense, and all property traceable to such property.

FORFEITURE ALLEGATION AS TO COUNT THREE
(Money Laundering Conspiracy)

3. Upon conviction of the money laundering conspiracy offense in
violation of 18 U.S.C. § 1956(c)(7) charged in Count Three of this Indictment,
defendants BRIAN ADJAVON and QUINTON SESSIONS shall forfeit to the United

States, pursuant to 18 U.S.C. § 982(a)(1), all property, real and personal,

11
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 12 of 13 PagelD: 164

involved in the money laundering offense, and all property traceable to such

 

 

property.
Substitute Assets Provision
(Applicable to All Forfeiture Allegations)
4. If any of the above-described forfeitable property, as a result of any

act or omission of the defendants:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third
person;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be
subdivided without difficulty,
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as
incorporated by 18 U.S.C. § 982(b) and 28 U.S.C. § 2461(c), to seek forfeiture of
any other property of said defendants up to the value of the forfeitable property

described above.

A TRUE BILL

 

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VIKAS KHANNA
Attorney for the United States
Acting Under Authority of
28 U.S.C. § 515

12
Case 2:22-cr-00522-KM Document 218 Filed 08/04/22 Page 13 of 13 PagelD: 165
CASE NUMBER: _22-522(MCA)

 

United States District Court
District of New Jersey

 

UNITED STATES OF AMERICA
v.

BRIAN ADJAVON,
QUINTON SESSIONS, and
GEORGE WIGGINS

INDICTMENT FOR

18 U.S.C. § 371
18 U.S.C. § 1028A
18 U.S.C. § 1349
18 U.S.C. § 1956

 

 

A True Bill,

,_ a

VIKAS KHANNA
ATTORNEY FOR THE UNITED STATES
FOR THE DISTRICT OF NEW JERSEY
ACTING UNDER THE AUTHORITY OF
28 U.S.C. § 515

 

 

JAMIE L. HOXIE
ASSISTANT U.S. ATTORNEY
NEWARK, NEW JERSEY
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